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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

Intersections Inc. and Net Enforcers, Inc.,

                       Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                  v.

Joseph C. Loomis and Jenni M. Loomis,

                       Defendants.


                       PLAINTIFF’S MOTION TO COMPEL DISCOVERY

        Plaintiff Intersections Inc. (“Intersections”) by counsel, respectfully moves this Court,

pursuant to Rule 37 the Federal Rules of Civil Procedure and the Local Rules of this Court, to

compel Defendant Jenni M. Loomis (“Ms. Loomis”) to produce all documents responsive to

Plaintiffs’ First Request for Production of Documents and to compel Defendant Joseph C.

Loomis (“Mr. Loomis”) to produce a load file containing all metadata required by the Court

approved Discovery Plan.

        WHEREFORE, for the reasons stated in Intersections Inc.’s Memorandum in Support of

its Motion to Compel Discovery, Intersections respectfully requests that this Court grant its

instant Motion.

Dated: October 23, 2009                        Respectfully submitted,


                                               By:        /s/
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of October, 2009, I will electronically file the

foregoing Plaintiff’s Motion to Compel Discovery with the Clerk of the Court using the CM/ECF

system, which will then send a notification of such filing (NEF) to the following:


                                       Thomas M. Dunlap, Esquire
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        And I hereby certify that I will electronically mail the document to the following non-

filing users:

                                       Randy Yavitz
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                                                            /s/
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